    Case 3:13-cr-03619-JLS   Document 115   Filed 03/10/15   PageID.494             Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                                , "
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UNITED STATES OF AMERICA,                   CASE NO. 13CR3619-JLS

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
SHERITA ALEXANDER (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

     18:1591(a) and (b); 18:1594(c} - Sex Trafficking of Children;
     Conspiracy to CommitlSex Traf cking of Children




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MARCH 5, 2015
                                            Bernard G. Skomal
                                            U.S. Magistrate Judge
